
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-05-369-CV



JOHN DOE A/K/A RONNIE SIDES	APPELLANTS

AND D &amp; D PALLETS, INC.



V.



MANUEL SANDOVAL	APPELLEE



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FROM THE 48
TH
 DISTRICT 
COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered “Appellants’ Unopposed Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same, for which let execution issue.

PER CURIAM

PANEL D:	CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.



DELIVERED: February 9, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




